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11
                               UNITED STATES DISTRICT COURT
12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

13
         THERESA SWEET, et al.,
14                                                        No. 3:19-cv-03674-WHA
                          Plaintiffs,
15
16             v.
                                                          ALTERNATE SCHEDULING
17       PHIL ROSENFELT, in his official capacity as      PROPOSAL
         Acting Secretary of Education, and the
18       UNITED STATES DEPARTMENT OF
         EDUCATION
19
20                        Defendants. 1

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22
              Defendants respectfully submit the following alternate scheduling proposal, which
23
     Plaintiffs do not oppose, pursuant to the Court’s February 5, 2021 Order (ECF No. 177).
24
              On December 23, 2020, the Court entered a stipulated scheduling order providing for
25
     Plaintiffs to file an omnibus motion to compel by February 4, 2021, and for Defendants to respond
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     by February 25, 2021. ECF No. 170. Plaintiffs filed their motion on February 4, and on February
27
     1
28     Pursuant to Federal Rule of Civil Procedure 25(d), Acting Secretary of Education Phil Rosenfelt
     is substituted in his official capacity as a Defendant in this case.

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 1   5, the Court entered an order requiring Defendants to file a responsive letter brief by February 12
 2   at 5:00 p.m., and setting a hearing for February 17 at 8:00 a.m. ECF No. 177. The Court stated
 3   that it would accept “[a]lternate schedule proposals” until February 9 at noon. Id. After conferring
 4   with Plaintiffs’ counsel, who do not oppose this proposal, Defendants propose the following
 5   alternate schedule:
 6      -   Defendants shall file a responsive letter brief by February 19 at 5:00 p.m.
 7      -   A hearing to be set for February 24 at 8:00 a.m., or such other date and time as the Court
 8          deems appropriate.
 9      Good cause exists to enter this alternate scheduling proposal. Although the issues presented
10   in Plaintiffs’ motion to compel are relatively narrow, Defendants’ response will necessarily require
11   one or more declarations from the agency to justify the challenged privilege assertions and to
12   explain the burden associated with responding to Plaintiffs’ document requests. Defendants
13   respectfully request one additional week to allow the agency sufficient time to prepare the
14   declaration(s), and for undersigned counsel to review the issues presented in Plaintiffs’ February
15   4 motion and prepare a responsive letter brief. The additional time would also accommodate the
16   general press of business, including issues related to the recent transition in presidential
17   administrations, while still moving up the deadline for Defendants’ responsive brief by almost a
18   week from what the parties had negotiated. And it would still allow for a hearing before the
19   February 25 deadline for Defendants’ responsive brief under the original schedule.
20          For these reasons, Defendants respectfully request that the Court enter this proposed
21   alternate schedule for the efficient resolution of the discovery disputes presented in Plaintiffs’
22   motion. Undersigned counsel has conferred with counsel for the Plaintiffs, who represented that
23   Plaintiffs do not oppose the entry of this proposed schedule.
24   Dated: February 9, 2021                           Respectfully submitted,
25                                                     BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General
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                                                       MARCIA BERMAN
27                                                     Assistant Branch Director
28                                                     /s/ R. Charlie Merritt


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